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01270/050696/JDH/RGH

                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

HXI LOGISTICS, INC.,

                      Plaintiff,

v.
                                                     Case No.
TRAVELERS PROPERTY CASUALTY
COMPANY OF AMERICA,

                      Defendant.

                      NOTICE OF REMOVAL TO FEDERAL COURT

       For its Notice of Removal pursuant to 28 U.S.C. § 1332, 1441, and 1446, Defendant

TRAVELERS PROPERTY CASUALTY COMPANY OF AMERICA (“Travelers”), through its

attorneys, CASSIDAY SCHADE LLP, state:

I.     This Litigation Satisfies the Requirements for Diversity Jurisdiction Pursuant to 28
       U.S.C. § 1332.

       1.      The grounds for Defendant’s Notice of Removal is subject matter jurisdiction

based on diversity of citizenship as established in 28 U.S.C. § 1332.

       2.      Plaintiff, HXI LOGISTICS, INC., filed a Verified Complaint for Declaratory

Judgment and Other Relief in the Chancery Division of the Circuit Court of Cook County, Case

No. 22 CH 11146, on November 14, 2022 (the “State Action”). (See the Complaint attached

hereto as Exhibit “A”).

       3.      Plaintiff alleges in its Complaint that Travelers breached a contract of insurance

between Plaintiff and Travelers by denying coverage and refusing to pay Plaintiff for a claim and

losses sustained as a result of the theft of certain cargo on November 15, 2021 from a trailer yard

in Stockton, California. (See Exhibit “A”).

II.    Travelers Timely Files its Notice of Removal Pursuant to 28 U.S.C. § 1446.
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        4.     Travelers was served with summons and the complaint for the State Action on

November 23, 2022. (See Proof of Service on Travelers attached as Exhibit “B”).

        5.     Plaintiff claims damages in the amount of $169,339.20 plus costs, and seeks an

additional $60,000 for Travelers’ alleged bad faith.

        6.     Upon information and belief, at the time this action was commenced, and since

then, Plaintiff is an Illinois corporation with its principal place of business at 3 Grant Square Unit

411, in Hinsdale, Illinois 60521.

        7.     Travelers is a foreign corporation with its principal place of business in Hartford,

Connecticut. (See Connecticut Secretary of State Business Entity Details, attached as Exhibit

“C”).

        8.     Therefore, complete diversity of citizenship exists among the Parties.

        9.     Based on the foregoing, this court has subject matter jurisdiction over Plaintiff’s

claims pursuant to 28 U.S.C.A. § 1332(a) because this is a civil action in which the amount in

controversy exceeds $75,000.00, and all parties are citizens of different states.

        10.    As required by 28 U.S.C. 1446(d), Defendant will promptly serve upon Plaintiff’s

counsel, and file with the Clerk of the Circuit Court of Cook County, a true and correct copy of

the Notice of Removal.

        11.    By removing this action, Defendant does not waive any defenses available to it.

        12.    In the unlikely event that any question arises as to the propriety of the removal of

this action, Defendant requests the opportunity to present a brief and oral argument in support of

its position that this case is removable.

        13.    This Notice is signed in compliance with Rule 11 of the Federal Rules of Civil

Procedure.




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           WHEREFORE, Defendant, TRAVELERS PROPERTY CASUALT COMPANY OF

AMERICA, prays that this Honorable Court retain jurisdiction of this matter pursuant to 28

U.S.C. 1332, 1441 and 1446.

                                           Respectfully submitted,

                                           CASSIDAY SCHADE LLP

                                           By: /s/ John D. Hackett
                                               One of the Attorneys for Defendant,
                                               TRAVELERS PROPERTY CASUALTY
                                               COMPANY OF AMERICA

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                                    Certificate of Service

       I hereby certify that on December 14, 2022, I electronically filed the foregoing document

with the Clerk of the Court using the CM/ECF system. The electronic case filing system sent a

“Notice of E-Filing” to all attorneys of record in this case, and a copy was emailed to all

attorneys of record.




                                                                  /s/ Robert   G.S. Hartzer




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